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    SWEETWATER MALIBU CA LLC and
 10 TEODORO NGUEMA OBIANG
    MANGUE
 11
 12
                          UNITED STATES DISTRICT COURT
 13
                        CENTRAL DISTRICT OF CALIFORNIA
 14
 15
    SWEETWATER MALIBU CA, LLC, a              Case No. 2:19-CV-01848-GW-SS
 16 California limited liability company,
 17              Plaintiff,                   JOINT STATUS REPORT
 18        vs.                                Date: September 10, 2020
                                              Time: 8:30 a.m.
 19 MAURICIO UMANSKY; UMRO
    REALTY CORP., a California                Crtrm: 9D
 20 corporation, dba THE AGENCY,
                 Defendants.                  Judge: Hon. George H. Wu
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                                                           CASE NO. 2:19-CV-01848-GW-SS
                                                                        STATUS REPORT
Case 2:19-cv-01848-GW-SS Document 51 Filed 09/08/20 Page 2 of 2 Page ID #:776




  1                                   STATUS REPORT
  2         The Defendants made the initial payment required pursuant to the terms of the
  3
      settlement.
  4
            The parties anticipate that the Defendants will make the last payment required
  5
  6 by the terms of their settlement agreement by agreed upon date.
  7
            In light of the foregoing, the parties request that the Court continue the Status
  8
  9 Conference currently set for September 10, 2020 to a date certain in November
 10 2020.
 11
      Dated: September 8, 2020
 12
 13
 14                                     By                      /s/
 15                                          Kevin Fisher
                                             Attorney for Plaintiffs
 16                                          TEODORO NGUEMA OBIANG MANGUE
 17                                          and SWEETWATER MALIBU, LLC

 18
 19 Dated: September 8, 2020          DLA PIPER LLP (US)
 20
 21
 22                                     By           /s/ Levi W. Heath
                                             Levi W. Heath
 23                                          Attorneys for Defendants
 24                                          MAURICIO UMANSKY and UMRO
                                             REALTY, INC. dba THE AGENCY
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 27
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                                                -1-                   CASE NO. 2:11-03582-GW-SS
                                                                               STATUS REPORT
